        Case 6:17-cv-01103-MK          Document 109                        Filed 03/19/21   Page 1 of 2



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Of Attorneys for Plaintiff




                         IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF OREGON

                                      EUGENE DIVISION


 JOHN DOE,                                                                         Case No. 6:17-cv-01103-MK

                Plaintiff,

        v.
                                                                     STIPULATED NOTICE OF
 UNIVERSITY OF OREGON,                                               DISMISSAL WITH PREJUDICE

                Defendant.


       Pursuant to terms of the parties’ final settlement agreement, and Fed. R. Civ. P.

41(a)(1)(A)(ii), the parties hereby stipulate to dismissal of this action with prejudice and without

further attorney fees, costs or disbursements to any party.

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1 – STIPULATED NOTICE OF DISMISSAL WITH PREJUDICE
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      Case 6:17-cv-01103-MK     Document 109                        Filed 03/19/21   Page 2 of 2



                                  19th                    March
     IT IS SO STIPULATED this ____ day of ____________ 2021:

                                             HERSHNER HUNTER, LLP



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2 – STIPULATED NOTICE OF DISMISSAL WITH PREJUDICE
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